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  1 DELILAH VINZON, CA Bar No. 222681

  2
      JOHN D. JACOBS, CA Bar No. 134154
      MARICELA SEGURA, CA Bar No. 225999
  3   Federal Trade Commission
  4
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      Los Angeles, CA 90024
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      Tel: (310) 824-4300; Fax: (310) 824-4380
  7

  8
                         UNITED STATES DISTRICT COURT
  9
                       CENTRAL DISTRICT OF CALIFORNIA
 10

 11

 12 FEDERAL TRADE COMMISSION,           )    Case No.: 8:19-cv-01728-JWH-JDE
                                        )
 13                         Plaintiff,  )    DECLARATION OF DELILAH
 14                                     )    VINZON IN SUPPORT OF
                      v.                )    PLAINTIFF FEDERAL TRADE
 15                                     )    COMMISSION’S REQUEST FOR
 16   STUDENT ADVOCATES TEAM, LLC, )         DECISION
      et al.,                           )
 17                                     )
 18                        Defendants.  )
                                        )
 19                                     )
 20                                     )
                                        )
 21                                     )
 22                                     )
                                        )
 23                                     )
 24                                     )
                                        )
 25
      _________________________________ )
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  1        I, Delilah Vinzon, declare as follows:
  2        1.     I am an attorney for Plaintiff Federal Trade Commission (“FTC”) in its
  3 Western Region Los Angeles office. I am one of the attorneys responsible for

  4 representing Plaintiff in this case, and I make this declaration in support of Plaintiff

  5 Federal Trade Commission’s Request for Decision on (1) Stipulation as to Entry of

  6 Order for Permanent Injunction, Monetary Relief and Final Judgment as to

  7 Defendants Student Advocates Team, LLC; Progress Advocates Group, LLC;

  8 Student Advocates Group, LLC; Assurance Solution Services, LLC; and Bradley

  9 Jason Hunt [ECF No. 71], and (2) Stipulation as to Entry of Order for Permanent

 10 Injunction and Final Judgment as to Defendant Sean Quincy Lucero [ECF No. 72]

 11 (together, the “Stipulations”). I have personal knowledge of the facts stated herein,

 12 and could and would competently testify thereto if called upon to do so.

 13        2.     The parties filed the Stipulations on May 17, 2021, agreed and signed by
 14 Plaintiff and Defendants in this case. The Stipulations resolve all claims against all

 15 remaining defendants.

 16        3.     On June 11, 2021, counsel for Plaintiff and Defendants appeared before
 17 the Court by videoconference for a status conference regarding the Stipulations. The

 18 matter was taken under submission that day.

 19        4.     More than 120 days have passed since the Court took the Stipulations
 20 under submission. No decision has been entered to date.

 21        5.     On October 12, 2021, I sent an email to Defendants’ lead counsel,
 22 I. Hooshie Broomand of Gordon, Rees, Scully Mansukhani to advise that a joint

 23 request for decision may need to be filed. I did not receive a response.

 24        6.     On October 13, I sent Mr. Broomand another email including a draft
 25 joint request for his review and agreement. I did not receive a response.

 26        7.     On October 15, I sent Mr. Broomand another email. I received an auto-
 27 reply, stating that Mr. Broomand was in deposition and traveling. It included contact

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             DECLARATION OF DELILAH VINZON ISO PLAINTIFF FTC’S REQUEST FOR DECISION
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  1 information for his assistant and another attorney in his office. I did not receive any

  2 other response.

  3         8.    On October 18, I sent an email to Mr. Broomand and his colleagues,
  4 Veronica Whitaker and Heather-Ann Young, again requesting that Defendants join

  5 the request for decision. I received a response from Ms. Young that Mr. Broomand

  6 was in deposition and travelling.

  7         9.    In light of the October 19 deadline for filing a request for decision under
  8 Local Rule 83-9.2, I requested a response by 11:00 am on October 19 and advised

  9 that Plaintiff would file the request on its own if Defendants did not respond. As of

 10 the time of filing, I have not received a response from Defendants’ counsel.

 11         10.   Attached hereto as Exhibit A is a true and correct copy of the email
 12 chain containing my correspondence with Defendants’ counsel from October 12-18,

 13 2021.

 14         I declare under penalty of perjury of the laws of the United States that the
 15 foregoing is true and correct.

 16         Executed on October 19, 2021, in Los Angeles, California.
 17

 18                                                _____________________________
 19                                                Delilah Vinzon
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             DECLARATION OF DELILAH VINZON ISO PLAINTIFF FTC’S REQUEST FOR DECISION
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                     EXHIBIT A
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Vinzon, Delilah

From:                             Vinzon, Delilah
Sent:                             Monday, October 18, 2021 4:20 PM
To:                               Heather-Ann Young; I. Hooshie Broomand
Cc:                               Veronica Whitaker; Jacobs, John D.
Subject:                          RE: FTC v. Student Advocates Team - Joint Request


Thank you for your email, Heather. By rule, we are required to submit the request by tomorrow, October 19 (130 days
after the court took the matter under submission). I believe we need to get something on file tomorrow, so I would
appreciate if you and/or Hooshie could let me know by 11 am PT tomorrow if we can submit this as a joint request.
Otherwise, I will rework it to be Plaintiff’s request and state that we have been informed that Defendants’ counsel has
been traveling and Defendants have not joined the request as of the time of filing.

Thanks,
Delilah

From: Heather‐Ann Young <hyoung@grsm.com>
Sent: Monday, October 18, 2021 3:45 PM
To: Vinzon, Delilah <dvinzon@ftc.gov>; I. Hooshie Broomand <HBroomand@grsm.com>
Cc: Veronica Whitaker <vwhitaker@grsm.com>; Jacobs, John D. <JJACOBS@ftc.gov>
Subject: RE: FTC v. Student Advocates Team ‐ Joint Request

Hi Delilah,

I followed up with Hooshie, he is in deposition and traveling.

Thank you for your patience.


                                       HEATHER‐ANN T. YOUNG | Senior Counsel

                                       3 Parkcenter Drive, Suite 200
                                       Sacramento, CA 95825
                                       D: 916‐830‐6549 | hyoung@grsm.com

                                       www.grsm.com
                                       vCard




          From: Vinzon, Delilah <dvinzon@ftc.gov>
          Sent: Monday, October 18, 2021 9:52 AM
          To: I. Hooshie Broomand <HBroomand@grsm.com>
          Cc: Veronica Whitaker <vwhitaker@grsm.com>; Heather‐Ann Young <hyoung@grsm.com>; Jacobs, John D.
          <JJACOBS@ftc.gov>

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  Subject: FW: FTC v. Student Advocates Team ‐ Joint Request
  Importance: High

  Hello Hooshie, Veronica and Heather,
  After receiving Hooshie’s auto‐reply on Friday, I am reaching out to you all to ensure that we comply with the
  requirement under Local Rule 83‐9.2 that we file a joint request for decision in this case. Please review the
  attached draft and let me know if it is ok to file with e‐signature from Hooshie or if another attorney in your
  office would prefer to sign. If I do not hear from you by close of business today, I will have to file the request on
  Plaintiff’s behalf alone and note my unsuccessful efforts over the past week to file a joint request. I would
  appreciate a response.

  Thank you,
  Delilah

  From: Vinzon, Delilah
  Sent: Friday, October 15, 2021 9:05 AM
  To: I. Hooshie Broomand ‐ Gordon & Rees (hbroomand@grsm.com) <hbroomand@grsm.com>
  Cc: John D. Jacobs (JJACOBS@ftc.gov) <JJACOBS@ftc.gov>
  Subject: FW: FTC v. Student Advocates Team ‐ Joint Request
  Importance: High

  Hi Hooshie,
  I left you a voicemail, and I’m recirculating this so that it does not fall through the cracks. If you can let us know
  today if this is ok to file, we would appreciate it.

  Thanks,
  Delilah

  From: Vinzon, Delilah
  Sent: Wednesday, October 13, 2021 2:13 PM
  To: I. Hooshie Broomand ‐ Gordon & Rees (hbroomand@grsm.com) <hbroomand@grsm.com>
  Cc: John D. Jacobs (JJACOBS@ftc.gov) <JJACOBS@ftc.gov>
  Subject: RE: FTC v. Student Advocates Team ‐ Joint Request

  Hi Hooshie,
  Attached is a draft Joint Request for Decision. Per L.R. 83‐9.2, we are required to file it no later October
  19. Please let me know if you have any edits or if I am authorized to e‐sign on your behalf. Thank you.

  Regards,
  Delilah

  From: Vinzon, Delilah
  Sent: Tuesday, October 12, 2021 12:57 PM
  To: I. Hooshie Broomand ‐ Gordon & Rees (hbroomand@grsm.com) <hbroomand@grsm.com>
  Cc: John D. Jacobs (JJACOBS@ftc.gov) <JJACOBS@ftc.gov>
  Subject: FTC v. Student Advocates Team ‐ Joint Request

  Hi Hooshie,

  I hope that you are well. We just wanted to touch base with you regarding entry of the stipulated judgments
  that we filed and the court took under submission on June 11, 2021. Pursuant to Local Rule 83‐9.2 (pasted

                                                        2
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         below) we are obligated to file a joint request for a decision by October 19, 2021 (130 days after the matter was
         submitted). If an order is not entered today, we will send you a draft joint request tomorrow to get on file. Just
         wanted to give you a heads up. Thanks.

                    L.R. 83‐9.2 Duty of Counsel. If the Court does not render and file its decision on a submitted matter
                    within 120 days of submission, all counsel shall, within 130 days after the matter is submitted for
                    decision, file with the Court a joint request that such decision be made without further delay. A copy of
                    such request shall be sent to the Chief Judge.

         Regards,
         Delilah

         Delilah Vinzon
         Attorney | Federal Trade Commission | Western Region Los Angeles
         10990 Wilshire Blvd., Ste. 400 | Los Angeles, CA 90024
         Phone: 310.824.4328 | Main: 310‐824‐4300 | Fax: 310‐824‐4380 | dvinzon@ftc.gov




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